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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS


 JARROD MCKINNEY,

                 Plaintiff,

 v.                                                  No. 2:21-cv-00212-RWS

 THOMAS J. VILSACK, in his official capacity
 as Secretary of Agriculture,
 et al.,

                 Defendants.



                                         STATUS REPORT
        In accordance with the Court’s August 30, 2021, Order, ECF No. 40, Defendants respectfully

submit this status report.

        1. Plaintiff in this action challenges Section 1005 of the America Rescue Plan Act of 2021.

            Because Plaintiff is a member of classes certified by the District Court for the Northern

            District of Texas in Miller v. Vilsack, 4:21-cv-595 (N.D. Tex.), that similarly challenge the

            same statutory provision, Defendants moved for, and the Court granted, a stay of this

            action pending the outcome of the Miller litigation. See ECF No. 40 (Aug. 30, 2021).

        2. Plaintiff subsequently moved in the Miller litigation to opt out of the certified classes. See

            Motion to Opt Out of Certified Classes, Miller, ECF No. 78 (Sept. 3, 2021). The Miller

            court denied the motion, and Plaintiff remains a member of the Miller classes. See Order,

            Miller, ECF No. 100 (Oct 13, 2021).

        3. On September 22, 2021, the Miller plaintiffs filed a Second Amended Complaint which

            eliminated the non-class claims, narrowing the litigation to the constitutional and statutory

            challenges to § 1005. See Second Am. Compl., Miller, ECF No. 87 (Sept. 22, 2021). On

            November 12, 2021, the Miller plaintiffs filed a Third Amended Complaint which

            eliminated the statutory challenge, such that the class pursues only an equal protection
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        challenge to § 1005. See Third Am. Compl., Miller, ECF No. 135 (Nov. 12, 2021).

        Defendant answered the Third Amended Complaint on November 26, 2021. See Answer,

        Miller, ECF No. 140 (Nov. 26, 2021).

     4. Currently pending before the Miller court is a motion to intervene as Defendants by the

        Federation of Southern Cooperatives/Land Assistance Fund. See Motion to Intervene,

        Miller, ECF No. 93 (Oct. 12, 2021).

     5. The discovery and briefing schedule in the Miller litigation is governed by that court’s

        September 22, 2021, scheduling order. See Order, Miller, ECF No. 85 (Sept. 22, 2021).

        Under the terms of that order, the parties will complete summary judgment briefing on

        April 1, 2022. Id.

     Dated: November 29, 2021             Respectfully submitted,

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                                          Acting Assistant Attorney General

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2021, a copy of the foregoing notice was filed

electronically via the Court’s ECF system, which effects service on counsel of record.


                                                                              /s/Michael F. Knapp
                                                                              Michael F. Knapp
                                                                              Trial Attorney
